Case 1:19-cr-00254-ALC Document 83 Filed 02/09/21 Page 1of1

USDC SDNY

 

DOCUMENT ELECTRONICALLY
UNITED STATES DISTRICT COURT ' FILED
\ DO
SOUTHERN DISTRICT OF NEW YORK. RATE FILED: 2g 2}
United States of America,
ORDER
19-CR-254 ALC)
-against-
Reginald Fowler,
Defendant(s)
x

 

ANDREW L. CARTER, JR., United States District Judge:

Telephone Status Conference set for February 9, 2021 at 2:00 p.m. The parties
should contact the Court at 1-888-363-4749 on the date and time specified above and once
prompted, should dial access code 3768660.

SO ORDERED.

Dated: New York, New York
February 8, 2021 7 (La

ANDREW L. CARTER, JR.
UNITED STATES DISTRICT JUDGE

 

 

 

 
